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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                    4:08CR3018
                                                )
               v.                               )
                                                )
DORIS JEAN WILLIAMS,                            )            ORDER ON STIPULATION
                                                )
                      Defendants.               )
                                                )


       The defendant, Doris Jean Williams, filed a “Motion to Reduce Sentence Pursuant to 18
U.S.C.S. § 3582(c)(1)(B),” filing 91, along with a Motion for Leave to Proceed in Forma Pauperis,
filing 93, which was granted by my order, filing 96. Pursuant to General Order No. 2008-02 the
Federal Public Defender for the District of Nebraska was appointed to represent the defendant,
document entry 92. The government and the Federal Public Defender filed a Stipulation, filing 98,
in which they state they agree “that the amendments to crack cocaine guidelines, U.S.S.G. § 2D1.1,
made retroactive effective March 3, 2008, were applied at the time of Ms. Williams’ sentencing on
August 26, 2008. Ms. Williams was sentenced to the ten year statutory mandatory minimum
sentence.”
       IT THEREFORE IS ORDERED that the Stipulation, filing 98, is approved and the Motion
to Reduce Sentence Pursuant to 18 U.S.C.S. § 3582(c)(1)(B), filing 91, is denied.
       Dated January 7, 2011.

                                       BY THE COURT

                                       s/ Warren K. Urbom

                                       United States Senior District Judge
